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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

                           CASE NO. 1:18-cv-22922-MOORE/SIMONTON


   GERALDINE BUENAVENTURA,
   as personal representative of the
   estate of BEN BUENAVENTURA,

           Plaintiff,

   v.

   NCL (BAHAMAS) LTD.,
   D-I DAVIT INTERNATIONAL, INC.,
   HATECKE SERVICE USA, LLC., and
   D-I DAVIT INTERNATIONAL-HISCHE
   GMBH,

           Defendants.
                                         /

                                        ORDER
                         PLAINTIFF’S MOTION TO FILE SUR-REPLY
                         BASED UPON NEWLY OBTAINED EVIDENCE

           THIS CAUSE came before the court on Plaintiff’s Motion to File Sur-Reply to NCL

   (Bahamas) Ltd.’s Reply to Plaintiff’s Response in Opposition to the Motion to Compel Arbitration,

   and the Court having considered said Motion and otherwise having been fully advised in the

   premises, it is:

           ORDERED AND ADJUDGED: Plaintiff’s Motion is GRANTED. The Sur-Reply is

   deemed filed as of entry of this Order.

           DONE AND ORDERED in Chambers at Miami, Florida this ___day of November, 2018.



                                               _______________________________________
                                               K. MICHAEL MOORE
                                               UNITED STATES DISTRICT COURT JUDGE
   Copies furnished to: Counsel of Record
